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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                HOT SPRINGS DIVISION


TYRONE DAVIS, Individually, and as
Parent and Natural Guardian of JALISSA DAVIS;
ELNORA DAVIS, Individually and as Parent and
Natural Guardian of ALZERIA DAVIS; and
JUMILYAH MITCHELL                                                                  PLAINTIFFS


v.                                   Case No. 6:17-cv-06025


STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY                                                                  DEFENDANT


                                            ORDER

       Before the Court is the parties’ Joint Motion to Dismiss. ECF No. 45. It has been reported

to the Court that the within matter has been fully settled and compromised by the parties.

Accordingly, the Court finds that Plaintiff’s Complaint should be and hereby is DISMISSED

WITH PREJUDICE. If any party desires that the terms of settlement be a part of the record

therein, those terms should be reduced to writing and filed with the court within thirty (30) days

of the entry of this order. The Court shall retain jurisdiction over the terms of the settlement

agreement.

       IT IS SO ORDERED, this 21st day of March, 2018.


                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            United States District Judge
